                                                                                                                                            Save As...                    Print                    Reset
                Case 1:22-cv-21544-JAL Document
JS 44 (Rev. 10/20) FLSD Revised 02/12/2021      1-1 Entered
                                              CIVIL COVER on  FLSD Docket 05/18/2022 Page 1 of 1
                                                            SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)       PLAINTIFFS DAVID WALTON, individually and on behalf                                                 DEFENDANTS
                                                                                                                                            CEREBRAL INC.
                        of all others similarly situated

     (b)    County of Residence of First Listed Plaintiff      Miami-Dade County, Florida                        County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                 NOTE:                  IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                         Attorneys (If Known)
     Manuel S. Hiraldo, Hiraldo P.A., 401 E. Las Olas Blvd., Ste. 1400             Nury A. Siekkinen, ZwillGen PLLC, 1900 M Street NW, Ste. 250
     Ft. Lauderdale, FL 33301 (954) 400-4713                                       Washington, DC 20036 (202) 296-3585
(d) Check County Where Action Arose:         MIAMI- DADE   MONROE BROWARD PALM BEACH   MARTIN     ST. LUCIE INDIAN RIVER OKEECHOBEE HIGHLANDS


II. BASIS OF JURISDICTION                          (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                             (For Diversity Cases Only)                                       and One Box for Defendant)
     1     U.S. Government             X3                     Federal Question                                                        PTF      DEF                                            PTF DEF
             Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State            1         1      Incorporated or Principal Place          4      4
                                                                                                                                                         of Business In This State

     2     U.S. Government                                       Diversity                             Citizen of Another State         2          2     Incorporated and Principal Place           5          5
             Defendant                   4       (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                       Citizen or Subject of a          3          3     Foreign Nation                             6          6
                                                                                                         Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)                               Click here for: Nature of Suit Code Descriptions
             CONTRACT                                         TORTS                                     FORFEITURE/PENALTY                       BANKRUPTCY                          OTHER STATUTES
  110 Insurance                         PERSONAL INJURY                   PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158                 375 False Claims Act
  120 Marine                            310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                        376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product                  Product Liability         690 Other                                28 USC 157                         3729 (a))
  140 Negotiable Instrument                 Liability                     367 Health Care/                                                                                         400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &                  Pharmaceutical                                                  PROPERTY RIGHTS                      410 Antitrust
      & Enforcement of Judgment             Slander                           Personal Injury                                                820 Copyrights                        430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’                Product Liability                                              830 Patent                            450 Commerce
  152 Recovery of Defaulted                 Liability                     368 Asbestos Personal                                              835 Patent – Abbreviated              460 Deportation
                                                                                                                                               New Drug Application
                                                                               Injury Product Liability                                      840 Trademark                         470 Racketeer Influenced and
         Student Loans                  340 Marine                                                                                           880 Defend Trade Secrets              Corrupt Organizations
                                                                                                                                              Act of 2016
         (Excl. Veterans)               345 Marine Product                                                          LABOR                     SOCIAL SECURITY                      480 Consumer Credit
                                                                                                                                                                                     (15 USC 1681 or 1692)
  153 Recovery of Overpayment                  Liability              PERSONAL PROPERTY                710 Fair Labor Standards              861 HIA (1395ff)                 X■   485 Telephone Consumer
                                                                                                                                                                                   Protection Act (TCPA)
      of Veteran’s Benefits               350 Motor Vehicle              370 Other Fraud                   Act                               862 Black Lung (923)                  490 Cable/Sat TV
  160 Stockholders’ Suits                 355 Motor Vehicle              371 Truth in Lending          720 Labor/Mgmt. Relations             863 DIWC/DIWW (405(g))                850 Securities/Commodities/
  190 Other Contract                          Product Liability          380 Other Personal            740 Railway Labor Act                 864 SSID Title XVI                    Exchange
  195 Contract Product Liability          360 Other Personal                 Property Damage           751 Family and Medical                865 RSI (405(g))                      890 Other Statutory Actions
  196 Franchise                               Injury                     385 Property Damage               Leave Act                                                               891 Agricultural Acts
                                          362 Personal Injury -              Product Liability         790 Other Labor Litigation                                                  893 Environmental Matters
                                              Med. Malpractice                                         791 Empl. Ret. Inc.                                                         895 Freedom of Information
        REAL PROPERTY                         CIVIL RIGHTS             PRISONER PETITIONS                  Security Act                      FEDERAL TAX SUITS                     Act
     210 Land Condemnation                440 Other Civil Rights         Habeas Corpus:                                                      870 Taxes (U.S. Plaintiff             896 Arbitration
     220 Foreclosure                      441 Voting                     463 Alien Detainee                                                       or Defendant)                    899 Administrative Procedure
     230 Rent Lease & Ejectment           442 Employment                 510 Motions to Vacate                                               871 IRS—Third Party 26 USC             Act/Review or Appeal of
                                                                         Sentence                                                            7609                                  Agency Decision
     240 Torts to Land                    443 Housing/                      Other:                                                                                                 950 Constitutionality of State
                                          Accommodations                                                                                                                           Statutes
     245 Tort Product Liability           445 Amer. w/Disabilities -     530 General                        IMMIGRATION
     290 All Other Real Property              Employment                 535 Death Penalty             462 Naturalization Application
                                          446 Amer. w/Disabilities -     540 Mandamus & Other          465 Other Immigration
                                              Other                      550 Civil Rights                  Actions
                                          448 Education                  555 Prison Condition
                                                                         560 Civil Detainee –
                                                                         Conditions of
                                                                         Confinement
V.   ORIGIN                  (Place  an “X”  in One  Box Only)
     1 Original        ■ 2 Removed              3 Re-filed        4 Reinstated         5 Transferred from            6 Multidistrict          7 Appeal to                 8 Multidistrict
        Proceeding             from State          (See VI           or                   another district           Litigation
                                                                                                                                                District Judge              Litigation      9 Remanded   from
                                                                                                                                                                                              Appellate Court
                               Court               below)            Reopened             (specify)                  Transfer
                                                                                                                                                from Magistrate             – Direct
                                                                                                                                                Judgment                    File
VI. RELATED/                              (See instructions): a) Re-filed Case               YES         NO              b) Related Cases        YES         NO
RE-FILED CASE(S)                                           JUDGE:                                                                               DOCKET NUMBER:
                                          Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 28 U.S.C. § 1453, Removal of Class Action Complaint from Circuit Court; violation of 47 U.S.C. § 227 (TCPA), Fl. Stat. § 501.059 (FTSA)
                                          LENGTH OF TRIAL via                     days estimated (for both sides to try entire case)
VIII. REQUESTED IN                           X   CHECK IF THIS IS A CLASS ACTION
                                                                                                          DEMAND $                                  CHECK YES only if demanded in complaint:
    COMPLAINT:                                   UNDER F.R.C.P. 23
                                                                                                                                                 JURY DEMAND:                        Yes         No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
      May 18, 2022
                                                                                             /s/ Nury Siekkinen
FOR OFFICE USE ONLY : RECEIPT #                               AMOUNT                             IFP                 JUDGE                               MAG JUDGE
